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                  EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                                      Criminal No. 21-CR-399 (RDM)
       v.

ROMAN STERLINGOV,

                   Defendant.



             [PROPOSED] HEURISTIC INFORMATION PROTECTIVE ORDER

       This Heuristic Information Protective Order supplements the Protective Order approved by

the Court on September 17, 2021 (ECF No. 18), and which Chainalysis Inc. (“Chainalysis”)

incorporates herein by reference. Where the Protective Order Governing Discovery and this

Heuristic Code Protective Order conflict in their treatment, this Protective Order shall control.

       Chainalysis, Inc. hereby submits a supplemental protective order to govern the information

or items relevant to the voluntary production of heuristic information that relates to this matter in

response to the Court’s August 30, 2023 order (August 30, 2023, Order). In providing this

Protective Order, Chainalysis neither waives any objections nor concedes to Defendant’s requests

for review of any material outside of what has been voluntarily provided. Accordingly, it is

HEREBY ORDERED THAT:

                     Highly Confidential Heuristic Information Materials

       1.      The government may provide access to defense counsel (defined as counsel of

record in this case) and one designated expert [insert named expert] with access to voluntarily

provided heuristic information that contains certain trade secret and proprietary information,

including heuristic data, files and associated information, disclosure of which to another party

would create a substantial risk of serious harm that could not be avoided by less restrictive means


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(“HIGHLY CONFIDENTIAL HEURISTIC INFORMATION”).

       2.      The protections conferred by this Protective Order cover not only HIGHLY

CONFIDENTIAL HEURISTIC INFORMATION (as defined above), but also (1) any information

copied from HIGHLY CONFIDENTIAL HEURISTIC INFORMATION; (2) all copies, excerpts,

summaries, or compilations of HIGHLY CONFIDENTIAL HEURISTIC INFORMATION in any

form and created by any individual; and (3) any testimony, conversations, or presentations that

might reveal HIGHLY CONFIDENTIAL HEURISTIC INFORMATION.

       3.      Prior to being given access to any HIGHLY CONFIDENTIAL HEURISTIC

INFORMATION, [insert named expert], will swear and affirm that he/she is not a past or current

employee of a competitor to Chainalysis, that he/she is not and is not anticipated to become an

employee of a competitor to Chainalysis, that he/she is hereby prohibited from engaging in

competitive behavior with Chainalysis during this litigation and for five (5) years following the

conclusion of this litigation, and that he/she will comply with the terms of this Protective Order.

[Insert named expert] will return a signed acknowledgement form attached as Attachment A to

this Order to the Court, the United States, and Chainalysis.

       4.      Prior to being given access to any HIGHLY CONFIDENTIAL HEURISTIC

INFORMATION, defense counsel will swear and affirm that they will comply with the terms of

this Protective Order. Defense counsel will return a signed acknowledgement form attached as

Attachment B to this Order to the Court, the United States, and Chainalysis.

       5.      All HIGHLY CONFIDENTIAL HEURISTIC INFORMATION may be used by

defense counsel and their expert [insert named expert] solely in connection with the defense of this

case, and for no other purpose, and in connection with no other proceeding, without notice to the

government, Chainalysis and further order of this Court.



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          6.    The defendant, defense counsel, and [insert named expert] shall not disclose any

HIGHLY CONFIDENTIAL HEURISTIC INFORMATION to any person or entity without notice

to the government, Chainalysis and prior permission from the Court.

          7.    Defense counsel and [insert named expert] shall maintain in its custody and control

any materials and all copies made thereof derived in any way from HIGHLY CONFIDENTIAL

HEURISTIC INFORMATION and shall not disclose such information in any way to any other

person.

          8.    Upon conclusion of all stages of this case or any action brought pursuant to 28

U.S.C. Section 2255, any materials and all copies made thereof derived in any way from HIGHLY

CONFIDENTIAL HEURISTIC INFORMATION shall be destroyed or returned to the United

States or Chainalysis, unless otherwise ordered by the Court. The Court may require a certification

as to the disposition of any such materials.

          9.    The   procedures    for     use   of   HIGHLY   CONFIDENTIAL         HEURISTIC

INFORMATION during any hearing or the trial of this matter shall be determined by the parties,

Chainalysis, and the Court in advance of the hearing or trial. No party shall disclose HIGHLY

CONFIDENTIAL HEURISTIC INFORMATION in open court or in public filings without prior

consideration by the Court.

                                          Scope of this Order

          11.   Supplemental Nature of This Order. This Order supplements and does not

modify the existing Protective Order Governing Discovery (ECF No. 18), which was entered by

the Court on September 17, 2021

          12.   Modification Permitted. Nothing in this Order shall prevent any party from

seeking modification of this Order or from objecting to discovery that it believes to be otherwise



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improper.

       13.     No Waiver. Chainalysis neither waives any objections nor concedes to Defendant’s

requests for review of any Source Code.

       14.     No Ruling on Discoverability or Admissibility. This Order does not constitute a

ruling on the question of whether any particular material is properly discoverable or admissible

and does not constitute any ruling on any potential objection to the discoverability of any material.



       IT IS SO ORDERED this _____ day of ______________ 2023.



                                              _____________________________________
                                              Randolph D. Moss
                                              United States District Judge




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                                            EXHIBIT A

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, [insert named expert], declare under penalty of perjury that I have read in its entirety and

understand the Heuristic Information Protective Order that was issued by the United States District

Court for the District of Columbia on [date] in the case of United States v. Sterlingov, No. 21-CR-

399 (RDM). I agree to comply with and to be bound by all the terms of this Heuristic Information

Protective Order and I understand and acknowledge that failure to so comply could expose me to

sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose in

any manner any information or item that is subject to this Heuristic Information Protective Order

to any person or entity except in strict compliance with the provisions of this Order.

       I further swear and affirm that I am not a past or current employee of a competitor to

Chainalysis, that I am not and am not anticipated to become an employee of a competitor to

Chainalysis, that I am hereby prohibited from engaging in competitive behavior with Chainalysis

during this litigation and for five years following the conclusion of this litigation.

       I further agree to submit to the jurisdiction of the United States District Court for the

District of Columbia for the purpose of enforcing the terms of this Heuristic Information Protective

Order, even if such enforcement proceedings occur after termination of this action.



Date: _________________________________

City and State where sworn and signed: _________________________________


Printed name: ______________________________
              [printed name]

Signature: __________________________________
              [signature]

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                                           EXHIBIT B

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       I, [insert name of defense counsel], declare under penalty of perjury that I have read in its

entirety and understand the Heuristic Information Protective Order that was issued by the United

States District Court for the District of Columbia on [date] in the case of United States v.

Sterlingov, No. 21-CR-399 (RDM). I agree to comply with and to be bound by all the terms of

this Heuristic Information Protective Order and I understand and acknowledge that failure to so

comply could expose me to sanctions and punishment in the nature of contempt. I solemnly

promise that I will not disclose in any manner any information or item that is subject to this

Heuristic Information Protective Order to any person or entity except in strict compliance with the

provisions of this Order.

       I further agree to submit to the jurisdiction of the United States District Court for the

District of Columbia for the purpose of enforcing the terms of this Heuristic Information Protective

Order, even if such enforcement proceedings occur after termination of this action.



Date: _________________________________

City and State where sworn and signed: _________________________________


Printed name: ______________________________
              [printed name]

Signature: __________________________________
              [signature]




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